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                         THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

  DISPLAY TECHNOLOGIES, LLC,

                         Plaintiff,                   Civil Action No. 2:15-cv-998-JRG-JRP
                 v.                                       CONSOLIDATED LEAD CASE
  NVIDIA CORPORATION, et al.,                               JURY TRIAL DEMANDED
                         Defendants.


                                  JOINT MOTION TO DISMISS
        Plaintiff Display Technologies, LLC (“Plaintiff”), and Defendant NVIDIA Corporation

 (“Defendant”), pursuant to Fed. R. Civ. P. 41(a)(2), hereby move for an order dismissing Plaintiff’s

 claims in this action against Defendant WITH PREJUDICE, with each party to bear its own costs,

 expenses, and attorneys’ fees.
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       DATED July 14, 2016.               Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 14th day of July, 2016, I electronically filed the foregoing
 document with the clerk of the court for the U.S. District Court, Eastern District of Texas, Marshall
 Division, using the electronic case filing system of the court. The electronic case filing system
 sent a “Notice of Electronic Filing” to the attorneys of record who have consented in writing to
 accept this Notice as service of this document by electronic means.

                                               /s/ Neal Massand___
                                               Neal Massand
